Case 16-04003-KKS Doc4 Filed 01/22/16 Page 1of4
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NORTHERN FLORIDA

Case number:

Barbara Rooks (Mother, cosigner) Adversary Proceeding number:
Debtor,

Barbara Rooks
Plaintiff, pro se

    

JURY TRIAL DEMANDED

vs.

Equinox Capital, licensed by the United

States Small Business Administration,

Equinox Capital Partners LLC,

Equinox, ef al,

Prairie Capital,

R3 Education Inc., a Florida Corporation,

R3 Education, a Massachusetts

Corporation, Steven Rodger, CEO,

St. Matthews University, Inc., a Florida

Corporation, St. Matthew's University

(Cayman) Ltd., Corp., a Florida Corporation

St. Matthew's University

School of Medicine LLC, a Florida

Corporation, St. Matthews University

Ltd., a Florida Corporation,

St. Matthews University School of

Medicine ef al., St. Matthews University et al.,

Jerry Thornton Ph D, St. Matthews 38

University, Vice President, oe
ESO
=o)
ce
me
o

lof 4

 

bi Zc 22 WT U0
aad
Case 16-04003-KKS Doc4_ Filed 01/22/16

Renae Sersland M.D., St. Matthews
University, Vice President of University
Services, Jeffrey Sersland M.D., President
and CEO, St. Matthews University,
Roger Crawford Courtney Esq., Special
Council to St. Matthews University,
Member of the Bar of the
Commonwealth of Virginia and of
other states,

Global Education Resources, LTD., a
Virginia Corporation,

Global Health and Education I Law and
Policy, LLC, a Virginia Corporation,
Global Health and Education Inc., a
Virginia Corporation,

Frank O. Appantaku M.D., an Illinois
Physician and SMU Clinical Preceptor,
Advocate Health Care, an Illinois
Corporation,

Michael Harris M.D., a Florida
Physician,

Galen Paul Swartzendruber, M.D., a
Florida Physician,

Gary McCutchen, Ed. D. St. Matthews
University Chancellor,

Gloria Miranda Avila, St. Matthews
University Registrar,

Nancy Adamson, St. Matthews
University Registrar,

Darlene Kathryn Burke, St. Matthews
University, a Florida Certified Public
Accountant

Jennifer Applequist, St. Matthews
University Registrar,

Janice M. Cresos?, St. Matthews
University Registrar,

The State of Florida, Department

of State, Secretary of

State Ken Detzner

The State of Florida, Department

of Education, Comissioner Pam
Stewart,

Student Finance Corporation

United States doing business as

U.S. Department of Education,

United States doing business as

Sallie Mae,

2 of 4

age 2 of 4

 
Case 16-04003-KKS Doc 4

United States doing business as
Navient,

United States doing business as

Wells Fargo ELT SLFA-WA, Inc.,
United States doing business as
Finance Authority of Maine,

United States doing business as
Deutsch Bank ELT SLM Trusts,
United States doing business as

USA Funds,

United States doing business as

JP Morgan Chase, NA,

United States doing business as
Account Control Technology, Inc.
Sallie Mae, Inc., a Florida Corporation,
Sallie Mae Bank

Sallie Mae, dba Navient Solutions Inc.
Kurt Felder, a Sallie Mae Investigator
Key Bank

Key Education Resources

General Revenue Corporation,
Finance Authority of Maine,

St Joseph's College of Maine,
National Enterprise Systems,

United Student Aid Funds, Inc.,

USA Funds Inc.,

USA Group Loan Services,

Allied Interstate LLC,

GC Services Limited Partnership,
Windham Professionals,

Pioneer Credit Recovery, Inc.,
Progressive Financial Services,
Primary Financial Services,

Sunrise Credit Services, Inc.,
Financial Asset Management Systems Inc.,
Rapid Recovery,

Oxford Law, LLC

and other John/Jane Doe's,

Defendants,

Filed 01/22/16 P

MOTION TO REOPEN PLAINTIFF BARBARA ROOKS'S CLOSED Q

Plaintiff's Adversary Complaint is a core proceeding arising from P]

age 3 of 4

HAPTER 7 PROCEEDING

aintiff Julian Rodney Rooks

Jr, chapter seven case and Plaintiff Barbara Rooks's closed but related chapter seven case. Per 11

3 of 4

 
Case 16-04003-KKS Doc4 Filed 01/22/16 Page 4of 4

U.S.C. § 350(b), Plaintiff's respectfully request the Court to reopen Plaintiff Barbara Rooks's closed
Chapter seven case filed before this court in 2008 (Case No. 08-40810-LMK).

Respectfully submitted,

DATED: /- 22 -24/@ PLAINTIFF

Loburx Kowk.

Barbara Rooks

3648 Dartford Lane
Tallahassee, Florida 323]
(850) 329-7019

pesed

4of 4

 
